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Application denied. This case has been referred to Judge Maas for all general non-dispositive pre-trial
matters, and all correspondence should directed to Judge Maas, unless they pertain to issues beyond the
scope of Judge Maas' jurisdiction, pursuant to 26 U.S.C. 636.

Dated: December 3, 2014
New York, New York
